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EXhibit 13

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Notice to N|embers

 

 

sHGGEs‘\'EnRauTiNs ' ' " ` '. n ': lNFoRMATioNAL
Legal and Comp|iance Al'lti_MOIleY l.a.underlng
Opera“°'“ Treasury issues Final Suspicious Activity Reporting Rule
Regis"a"°" for Bro|<er/Dea|ers; Ef'fective Date: Transactions After
Senior N|anagement December 30l 2002

Draft Form SAR-SF; Comments Requested by October 4, 2002

KEY topics

 

Executive Surnmary

On October 26, 2001. President Bush signed into law the USA

|V|one Launder'
y mg PATRioT Act (Patrioi ivicr).1 Tme in or the Patriot Act. entitled

SHSPiCiOuS ACtiVity R€POFU"Q “lnternationa| Nloney Laundering Abaternent and Anti-Terrorist
Financing Act of 2001 added new provisions to the Bank Secrecy
Act (BSA).P

Section 356 of Tit|e l|l of the Patriot Act required the Department
of the Treasury (lreasury). in consultation with the Securities and
Exchange Commission (SEC) and the Board of Governors of the
Federal Reserve System, to issue rules requiring broker/dealers to
file suspicious activity reports (SARs) with the Financia| Crimes
Enforcernent Network (FinCEN), a bureau of Treasury. On July ‘l,
2002, Treasury published in the Federal Register its final rules
requiring broker/dealers in securities to file reports that identify
and describe transactions that raise suspic|ons of illegal activity.3
The requirement to file SARs applies to transactions occurring after
December 30, 2002.‘

Specifical|y. the final rule requires broker/dealers to report to
FinCEN any transaction that. alone or in the aggregate involves at
least $5.000 in funds or other assets, if the brokerfdealer knows,
suspects. or has reason to suspect that it falls within one of four
classes: (‘l) the transaction involves funds derived from illegal
activity or is intended or conducted to hide or disguise funds or
assets derived from illegal activity: (2) the transaction is designed,
whether through structuring or other means. to evade the
requirements of the BSA; (3) the transaction appears to serve no
business or apparent lawful purpose or is not the sort of transaction
in which the particular customer would be expected to engage and

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for which the broker/dealer knows of no
reasonable explanation after examining

the available facts', or (4) the transaction
involves the use of the broker/dealer to

facilitate criminal activity.

This Notice to Members provides a brief
overview of the key provisions of the rule.

Treasury also published, in draft, a new
form, "Suspicious Activity Report by the
Securities and Futures |ndustry" (SAR-SF).5
Whi|e Treasury's final SAR rule indicated
that it was developing a suspicious activity
reporting form for broker/dealers entitled
“Suspicious Activity Report - Brokers or
Dealers in Securities" (SAR-BD). Treasury
has indicated that the Form could also be
used by futures commission merchants
(FC|\/ls) registered with the Commodity
Futures Trading Commission (CFTC).
Accordingly, the draft Form has been
revised from SAR-BD to SAR-SF and several
fields have been provided on the Form for
use by FCl\/|s. Treasury requests comment
on draft Form SAR-SF by October 4, 2002.

Questions/Further Information

Questions regarding this Notice may

be directed to Vici<y Berberi-Doumar,
Department of l\/|ember Regulation,
NASD Regulatory Policy and Oversight,
at (202) 728-8905, or to Grace Yeh, Office
of General Counsel. NASD Regulatory
Policy and Oversight. at (202) 728-6939.

Discussion

Background

The Patriot Act was enacted to. among
other things. deter and punish terrorist
acts in the United States and around the
world. and to enhance law enforcement
investigatory tools. Title |ll of the Patriot
Act - The lVloney Laundering Abatement

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Act - imposes significant new
obligations on broker/dealers through
new anti-money laundering (Al\/iL)
provisions and amendments to the
existing provisions of the BSA.

Among these obligations, broker/dealers
are required to have in place as of April
24, 2002, an AlvlL compliance program.
NASD Rule 3011, which was approved by
the SEC on Apri| 22, 2002, requires that
each member develop and implement by
April 24, 2002, a written A|V|L program
reasonably designed to achieve and
monitor the members compliance with
the requirements of the BSA and the
impiementing regulations promulgated
thereunder by the Treasuryr including the
obiigation to report suspicious activities
as set forth in the final SAR Rule. ln
addition to this Notice, members may
also refer to Notice to Members 02-21
(April 2002), which provides guidance to
members regarding the development of
AlVlL programs and the requirement to
report suspicious transactionsl

Suspicious Activities Reporting
Requirements

Pursuant to the final rule.“ a broker/
dealer must report a transaction on Form
SAR-SF if (a) the transaction is conducted
or attempted by. at. or through a broker/
dealer, (b) it involves or aggregates funds
or other assets of at least $5.000. and (c)
the brokeridealer knows, suspects, or has
reason to suspect that the transaction (or
a pattern of transactions of which the
transaction is a part):

i. involves funds derived from illegal
activity or is intended or conducted
to hide or disguise funds or assets
derived from illegal activity;

2. is designed, whether through
structuring or other means. to
evade the requirements of the BSA;

3. appears to serve no business or
apparent lawful purpose or is not
the sort of transactions in which
the particular customer would be
expected to engage and for which
the broker/dealer knows of no
reasonable explanation after
examining the available facts: or

4. involves use of the broker/dealer to
facilitate criminal activity

FinCEN's rule is not limited only to
individual transactionsl but extends to
patterns of transactions |n its release
adopting the final rule, FinCEi\| explicitly
clarifies that "if a brokerfdealer
determines that a series of transactions
that would not independently trigger the
suspicion of the brokeridealer, but that
taken together, form a suspicious pattern
of activity the broker/dealer must file a
suspicious transaction report."'

The release refers to the " red flags”
section of NASD Notice to Members
(NtM) 02-21B to help determine whether
a transaction "appears to serve no
business or apparent lawful purpose or is
not the sort of transactions in which the
particular customer would be expected to
engage and for which the broker/dealer
knows of no reasonable explanation after
examining the available facts."" The
release states that brokeridea|ers should
determine whether activities vary
substantially from normal practice as to
raise suspicions of possible illegality by
looking for red flags such as those
enumerated in NtM 02-21.

Finally. as noted above. the rule requires
broker/dealers to disclose transactions
that "involves use of the brokeridealer to
facilitate criminal activity " '° The release
notes that disclosure under this provision
is intended to detect activities that
appear to have a criminal purpose but
apparently involve legally derived funds.

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Disc|osure protects broker/dealers from
being potential or actual victims of
criminal violations, or being used to
facilitate criminal transactions

Exceptions from Reporting

The rule contains exceptions from
reporting violations otherwise reported
to various law enforcement authoritiesl
such as: (1) a robbery Or burglary that is
reported by the broker/dealer to
appropriate law enforcement authorities;
(2) lost. missing, counterfeit, or stolen
securities that are reported by the
broker/dealer pursuant to Ru|e 17f-l
under the Securities Exchange Act of
1934 (Exchange Act); and (3) a violation
of the federal securities laws or rules of a
self-regulatory organization (SRO) by the
broker/dealer. its officers, directors.
employees or registered representatives
that are reported appropriately to the
SEC or an SRO, except for a violation of
Exchange Act Rule ‘l')‘a-Eif which must be
reported on Form Si¢\R-SF.11

Who Must File

Each broker/dealer involved in a
transaction has an independent
obligation to monitor forl identify and
report suspicious activities When more
than one broker/dealer is involved in a
transaction. only one Form SAR-SF is
required to be filed, provided the
report includes all relevant information.
The release uses as an example an
introducing and clearing broker. and
clarifies that the two broker/dealers may
provide each other with copies of the
Form SAR-SF that was filed. as well as the
underlying documentation

lt is important to note that the release
specifies that if the Form SAR-SF relates to
the other brokeridea|er, then the broken'
dealer making the filing is prohibited

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from notifying the other broker/dealer
that a Form SAR-SF has been filed.

in response to several commenters
requesting clarification on the applica-
tion of the rule to certain types of
broker/dealersr the final rule provides
that the broker/dealer SAR requirements
Wi|l not apply to dual registrants (persons
registered both with the CFTC as an FCN|
and with the SEC as a broken'dealer) to
the extent their activities are subject to
the exclusive jurisdiction of the CFTC, or
to broker/dealers registered with the SEC
but located outside the United States.
However. the final rule will apply to
persons registered as a broker/dealer
solely to sell variable annuity contracts
issued by life insurance companies

Confidentia|ity of SAR-SF Fi|ings

The rule also requires that the filing

of a Form SAR-SF report must remain
confidential. The person involved in the
transaction that is subject of the report
must not be notified of the Form SAR-SF.
ln other words, if subpoenaed the
broker/dealer must refuse to provide the
information and notify FinCEN of the
request, unless the disclosure is required
by FinCENr the SEC, an SRO or other law
enforcement authority Where two or
more broker/dealers are filing one Form
SAR-SF, the confidentiality provisions
apply equally to each broker/dealer
participating in a transaction and not
only the broker/dealer that filed the
Form SAR-SF.

Fi|ing Procedures

Brol<en'dealers must file Form SAR-SF
within 30 days of becoming aware of
the suspicious transaction lf the
broker/dealer is unable to identify

a suspect. the rule provides an extra
30 days for filing the Form SAR-SF.

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The Form SAR-SF must be fiied within
60 calendar days of initial detection
whether or not the broker/dealer can
identify the suspect.

|n addition, the rule requires brokeri
dealers to immediately notify by
telephone an appropriate law enforce-
ment authority in situations that require
immediate attention such as terrorist
financing or ongoing money laundering
schemes. and reminds brokers that they
can also report suspicious transactions
that may relate to terrorist activity to
FinCEN's Financial institutions Hotline
(1-866-556-3974). ln both cases, brokerl
dealers are still required to file a timely
Form SAR-SF.

Record Keeping

Broi<er/dealers must maintain copies

of filed Form SAR-SFs and the original
related documentation for five years
from the date of the filing. Brokerf
dealers must make the records available
to FinCEN as Well as to other appropriate
law enforcement agencies1 federal or
state securities regulators. and SROs
registered with the SEC.

The rule also requires a broker/dealer to
keep records when relying on the ru|e's
exception from reporting. in case FinCEN
requests such information.

Form SAR-SF: Request for Comments

As mentioned above, Treasury published
draft Form SAR-SF for comments Treasury
has specifically requested that the form
not be used untii a final version is made
available The draft form contains
detailed instructions and guidelines on
how to present the information and
what to include in order to maximize

the benefits of the information to the
authoritiesl Treasury requests comments

on, among other things whether the
collection of information is necessary for
the proper performance of the functions
of the Treasury and ways to enhance the
quality utility and clarity of the informa-
tion to be collectedl Treasury also requests
comments on the estimated burden of
collecting the information ways to
minimize the burden and estimates of
start-up costs and costs of operation
maintenance and purchase of services to
provide information Comments should be
submitted to FinCEN by October 4, 2002.

Endnotes

1 Public Law 107-56.
2 31 U.S.C. 5311, et seq.

3 67 Fed. Reg. 44048 (iuly 1, 2002)
(http.'lfwww. treasgovlfincenfbrokersdealersar
juiyZOOZ.pdf).

4 Broken'dealers that are affiliates or subsidiaries
of banks or bank holding companies must
continue to file SARs with FinCEN pursuant to
existing BSA reporting and recordkeeping
requirements until December 30, 2002. After
December 30, 2002, these broker/dealers will
have to use the new Form SAR-SF.

5 6? Fed. Reg. 50?51 (Aug. 5, 2002]
{hitp.'I/wwvii treasgovlfi`ncenffedreg08052002.;30'0.

6 31 CFR 103.19(8)(2).

'i‘ The release also clarifies that the rule is not
intended to require brokerfdealers to review
every transaction that exceeds the reporting
threshold The rule is intended to encourage
brokerideaiers to evaluate customer activities
and relationships and design an appropriate
monitoring program: the release suggests that
firms use a "risk-based approach" in monitoring
for suspicious transactions

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B NtM 02-21, NAS`D Provi`des Guidance To Member
Fr`rms Concerni‘ng Anti-Money Laundering
Cornpir`ance Programs Requi`red By Federai Law.

9 31 c.F.R. ios.isra){z)(iii).
10 31 c.F_R. 103.19(a)(2)(iv).

11 The release clarifies that if a broker/dealer does
not report a securities violation to the SEC or
an SRO because the SEC regulations or SRO rules
do not require reporting of such violation the
broker/dealer must nevertheless file a Form SAR-
BD to report the violation if othenivise required
to be reported under the final SAR Rule.

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attempt to present information to readers in a
format that is easily understandabie. However, please
be aware that, in case of any misunderstandingl the
rule language prevails

